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                  IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :       Criminal No. 21-670 (CJN)
                                    :
v.                                  :
                                    :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:

       RESPONSE TO THE GOVERNMENT’S SENTENCING MEMORANDUM
       Defendant Stephen K. Bannon, by and through his undersigned counsel, hereby submits

this Response To The Government’s Sentencing Memorandum, and states as follows:

       The Government seeks a harsh sentence because of Mr. Bannon’s “defiance.” Doc. 152 at

1. But they mischaracterize his public statements and try to conflate his state of mind in October

2021 – the relevant time frame – with his state of mind after the Select Committee initiated this

criminal prosecution. In October 2021, Mr. Bannon was willing to testify before the Select

Committee had an accommodation been reached on executive privilege. No reasonable person

could think that standing up for a constitutionally-protected privilege – on the advice of counsel –

is defiant. The actions taken by public officials in and after October 2021, however, demanded a

strong response. The Select Committee refused any accommodation and initiated a criminal

prosecution – all the while making public statements that Mr. Bannon should be jailed. The

prosecutors continued in that spirit: they sought the phone and email records of Mr. Bannon’s

lawyer in an unprecedented attempt to turn him into a witness, rather than an attorney. These

actions by public officials cannot be condoned. What is allowed will come to be expected. Mr.
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Bannon should not be punished for speaking out against official over-reaching. Defiance in the

face of government wrongdoing is reverence for justice.

             Costello – Clark Communications Do Not Warrant A Harsher Sentence

        The Government’s contention that Mr. Bannon (through his counsel Robert J. Costello)

tried to mislead the Select Committee on whether President Donald J. Trump asserted executive

privilege borders on the ridiculous. Mr. Costello’s full response is attached as Exhibit A. Simply

put, the issue has no bearing on sentencing. 1 A key point is that the same letter asserting executive

privilege was provided to Mark Meadows and Dan Scavino. Doc. 86-3. 2 The Select Committee

initiated criminal referrals for Contempt of Congress for both. Neither was prosecuted. The

assertion of executive privilege involving Meadows and Scavino – based upon a Clark letter –

must have been accepted by the Government, or the two would have been prosecuted. Yet the

Government makes the strange claim that reliance on a Clark letter by Mr. Bannon (after being

advised by Mr. Costello) is contumacious. The Government should not be allowed to play

favorites.




1
  It is curious that the Government devotes five pages in its sentencing memorandum to its
slanted version of purported interactions between attorneys Costello and Clark. Query whether
the Government is trying somehow to slip this into the record, post-trial, and without the benefit
of full briefing by the parties, in the hope that it will improves its chances on appeal.
2
  The letters from Clark to counsel for Meadows and Scavino include additional language stating
that both are entitled to immunity; but that addition has no bearing on the question at issue here
concerning Clark’s directions on behalf of President Trump that executive privilege was being
invoked and that Mr. Bannon (and Messrs. Meadows and Scavino) must honor that assertion to
the “fullest extent permitted by law”.


                                                  2
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       Clark’s current position on the purported limitations he intended with respect to his

direction to Mr. Costello conflicts with the position he advocated on President Trump’s behalf in

Trump v. Thompson, 1:21-cv-02769-TSC (D.D.C. 2021). 3

       The Government’s arguments concerning Clark’s letter are meritless for other reasons as

well. Perhaps most significantly, in his October 13, 2021, letter to Chairman Thompson, Mr.

Costello unequivocally advised the Committee that Mr. Bannon would comply with the subpoena

if the Committee were to take the matter before a judge (in a civil enforcement proceeding) and

the judge directed him to comply. The judge would have determined whether executive privilege

was properly invoked and the extent to which it applied. Mr. Costello’s affirmative request for a

judicial determination of executive privilege issue negates the Government’s position that Mr.

Bannon “exploited the Clark letter as an excuse to ignore the Committee’s subpoena.” See Doc.

152 at 5. In any event, former President Trump’s July 9, 2022, letter confirms that he invoked

executive privilege when Mr. Bannon received the subpoena. [Doc. 107-1].

       Attempts At Accommodation Warrant A Lower – Not A Higher – Sentence

       Inexplicably, the Government tries to use the advocacy of Mr. Bannon’s trial counsel

against him, just as they have tried to do with the efforts of his counsel before the Committee.

What lawyer worth his salt would not try to see if he can get criminal charges against his client



3
 Clark served as appellate co-counsel with another attorney in Trump v. Thompson. See Case No.
21-5254 (D.C. Cir. 2021). There, President Trump, through counsel, referred to the letters Clark
sent to recipients of January 6 Committee subpoenas and wrote at length in support of the broad
invocation of a “protective” assertion of executive privilege reflected in such letters. See Trump v.
Thompson, Doc. 5-1 at 1, n. 2.




                                                 3
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dismissed, by seeking to cure the alleged wrong? Accommodation – not prosecution – is the

traditional method of resolving disputes regarding congressional testimony. See e.g., United States

v. AT&T, 567 F.2d 121, 127 (D.C. Cir. 1977) (referring to the “implicit constitutional mandate to

seek optimal accommodation” to resolve such disputes). Indeed, as recently as last year, the

Department of Justice iterated the importance of the accommodation process in these cases. See

e.g. Doc. 58-7 at 38. For the Government to now change course and claim that such negotiations

somehow warrant a more severe sentence here raises serious questions of vindictiveness.

                  The Government Fails To Identify Comparable Sentences

       The Government’s argument that a harsh sentence is appropriate here because others – 60

or 70 years ago – received a sentence of incarceration is misplaced. The Government has become

smitten with Licavoli. 4 The admiration is so strong that the Government argues that Mr. Bannon

should receive the same sentence as Mr. Licavoli. Had they done their homework, however, the

prosecutors would know that at the time of his sentencing for Contempt of Congress, Mr. Licavoli

had a lengthy criminal history. In arriving at a sentence of six months’ incarceration, the Licavoli

sentencing judge stated that the presentence report of the Probation Officer noted two prior felony

convictions, a record of arrests two pages in length, and official findings by the Senate McClellan

Committee that he was one of the “most notorious figures of the Detroit underworld” and the head

of a racketeering organization that had an interest in “almost every major [illegal] gambling

operation in the City of Detroit.” Licavoli Trial & Sentencing Transcript, Vol. II, April 14, 1960,




4
 Most of the sentences the Government argues are analogous arose out of Contempt of Congress
convictions involving the House Un-American Activities Committee. Suffice to say that the star
of that committee and its work have dimmed considerably in the many decades since it was
expired.

                                                 4
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at 254-256. Additionally, Licavoli did not involve an assertion of executive privilege, nor did the

defendant in that case believe that he had testimonial immunity from congressional subpoenas.

       The Federal Sentencing Guidelines emphasize the importance of considering the criminal

history of a defendant at sentencing. The Government’s notion that a harsh sentence – pointing to

sentences from 60 or 70 years ago – without regard to an individual’s specific history – is without

any basis in the law and goes against the fundamental principles of modern federal sentencing.

       To the best of our knowledge, the Government recommended probation in the last two

Contempt of Congress convictions in this district, and the Court followed that recommendation. 5

In support of its position that a custodial sentence is appropriate, the Government cites Yellin v.

United States, 287 F.2d 292, 294 (7th Cir. 1961) and United States v. Seeger, 303 F.3d 478 (2d

Cir. 1962). See Doc. 152 at 23. Ironically, these cases actually provide further support for Mr.

Bannon’s position that a stay pending appeal is warranted in this case. See Yellin v. United States,

374 U.S. 109, 123 (1963) (reversing and holding that committee’s failure to comply with its rules

on executive sessions excused defendant’s refusal to answer questions, and witness was entitled

to prove such defense when he discovered at his contempt trial that his rights under the rules had

been violated); see also United States v. Seeger, 303 F.3d at 478 (reversing conviction and

dismissing indictment for its failure to reference committee’s authorizing resolution).




5
  In United States v. Bloch, the U.S. Attorney for D.C. informed the Court that the two then most
recent prosecutions under 2 U.S.C. §192 in this District “each resulted in [a] sentence of
probation.” Id., citing, U.S. v. Tejada, Cr.-09-mj-077 (AK); U.S. v. Abrams, Cr.-91-575 (AER).
Bloch, 762 F. Supp. 115, 117 (D.D.C. 2011) (Robinson, M.J.). The government recommended a
sentence of probation in Bloch as well and argued at length that the court had authority to impose
such a sentence.


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       The Government’s position seems to be that because the Select Committee was looking

into a significant historical event, Mr. Bannon’s failure to cooperate merits a harsher sentence. 6

But the Government has recommended probationary sentences in this district even where an

individual intentionally and unlawfully removed, concealed, and destroyed classified documents

to make them unavailable to a congressional Committee investigating the worst terrorist attack in

American history. See United States v. Samuel R. Berger, Case No. 05-mj-175-DAR (D.D.C. Apr.

1, 2005) (sentence of two years’ probation, 100 hours community service, and $50,000 fine). In

2004, it was revealed that the Department of Justice was investigating Samuel “Sandy” R. Berger,

former National Security Advisor to President Clinton, for several instances of unauthorized

removal and destruction of classified documents from the National Archives and Records

Administration (“NARA”). 7 The stolen documents related to the Clinton Administration’s

handling of the 2000 Millennium Attack Plots and had been subpoenaed by the 9/11 Commission

during its investigation of the September 11, 2001, terrorist attacks. 8 Berger ultimately pled guilty

to one misdemeanor count of knowingly removing classified documents from NARA, in violation

of 18 U.S.C. § 1924(a). Case No. 05-mj-175-DAR, ECF 5, ⁋ 4. The maximum penalty under that




6
  Mr. Bannon’s position did not stop the Select Committee in its tracks, as according to its
Chairman, the Select Committee has “conducted more than a thousand interviews and
depositions.” See https://www.npr.org/2022/10/13/1125331584/jan-6-committee-hearing-
transcript.
7
 See R. Jeffrey Smith, Berger Case Still Roils Archives, Justice Dept. WASHINGTON POST (Feb.
21, 2007), available at https://www.washingtonpost.com/wp-
dyn/content/article/2007/02/20/AR2007022001344.html.
8
 Staff of H. Comm. on Oversight and Gov’t Reform, 110th Cong., Sand Berger’s Theft of
Classified Documents (Comm. Print 2007 by Ranking Member Tom Davis), available at
https://irp.fas.org/congress/2007_rpt/berger.pdf.
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statute is one year of imprisonment and a $100,000 fine. Id. The Government recommended a

probationary sentence, which the Court imposed. Id. at ECF 17, 2-3.

                          A SENTENCE OF PROBATION IS AVAILABLE

       Contrary to the Government’s argument, Mr. Bannon is eligible for a sentence of probation

for a Contempt of Congress conviction, pursuant to the Federal Probation Act, 18 U.S.C. § 3651.

As analyzed in recent insightful legal commentary:

       . . .[T]he fact that a federal criminal statute specifies a minimum term of imprisonment is
       not sufficient by itself to preclude a sentence of probation. Unless the statute also explicitly
       bars a sentence of probation, the Sentencing Guidelines determine whether probation is an
       available sentence. Because the contempt statute does not expressly preclude a sentence of
       probation, it is a potential option for defendants convicted of contempt of Congress.
Exhibit B.9

                                         CONCLUSION

       For the foregoing reasons, Mr. Bannon respectfully requests that this Court impose a

sentence of probation and stay imposition of the sentence pending appeal.

Dated: October 20, 2022                       Respectfully submitted,

                                              SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

                                                 /s/ M. Evan Corcoran
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9
 Steven Gordon, Why Steve Bannon Could Serve Probation Instead Of Jail Time, LAW360 (Oct.
20, 2022), available at https://www.law360.com/trials/articles/1541126/why-steve-bannon-
could-serve-probation-instead-of-jail-time).
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 20th day of October 2022, a copy of Stephen K.

Bannon’s Response To The Government’s Sentencing Memorandum was served via the Court’s

CM/ECF system on registered parties and counsel.

                                             /s/ M. Evan Corcoran
                                          M. Evan Corcoran (D.C. Bar No. 440027)
